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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re:                                            )     Chapter 7
TRANS READ WAREHOUSE, INC.,                       )     Case No. 11-10709-JPC
7035 PROPERTIES, INC.                             )     Case No. 11-10837-JPC
                                                  )     (substantively consolidated)
                                                  )     Hon. Jacqueline P. Cox
                 Consolidated Debtors.            )
                                                  )
                                                  )
                                                  )

                                     NOTICE OF FILING


TO:      SEE ATTACHED SERVICE LIST


       PLEASE TAKE NOTICE that on the 17th day of October, 2017, the undersigned
caused to be filed with the Clerk of the Bankruptcy Court for the Northern District of Illinois,
Eastern Division, the Amended Trustee’s Report of Deposit of Unclaimed Property in the
above-captioned matter, a copy of which is hereby served upon you.

Dated: October 17, 2017                               Respectfully submitted,

                                                      GUS A. PALOIAN, not individually or
                                                      personally, but solely in his capacity as the
                                                      Chapter 7 Trustee of the Debtor’s Estate,

                                                      By:/s/ Gus A. Paloian
                                                         Gus A. Paloian (06188186)
                                                         SEYFARTH SHAW LLP
                                                         131 South Dearborn Street, Suite 2400
                                                         Chicago, Illinois 60603
                                                         Telephone: (312) 460-5000
                                                         Facsimile: (312) 460-7000
                                                         gpaloian@seyfarth.com

                                                          Chapter 7 Trustee




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                                CERTIFICATE OF SERVICE

        I here by certify that I caused a true and correct copy of the foregoing notice and the
report identified therein to be served upon the persons listed on the attached service list at their
respective addresses by electronic notice or first class mail, postage prepaid, as indicated, on
October 17, 2017.



                                                     /s/ Gus A. Paloian
                                                         Gus A. Paloian




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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

In re:                                              )   Chapter 7
TRANS READ WAREHOUSE, INC.,                         )   Case No. 11-10709-JPC
7035 PROPERTIES, INC.                               )   Case No. 11-10837-JPC
                                                    )   (substantively consolidated)
                                                    )   Hon. Jacqueline P. Cox
                    Consolidated Debtors.           )
                                                    )
                                                    )
                                                    )

                                   AMENDED
              TRUSTEE’S REPORT OF DEPOSIT OF UNCLAIMED PROPERTY

         Gus A. Paloian, Trustee (“Trustee”), pursuant to 11 U.S.C. §347 and Rule 3011 of the

Federal Rules of Bankruptcy procedure, provides the following report of Trustee’s deposit of

unclaimed property with the Clerk of the Bankruptcy Court:

              1.   On March 15, 2011, Trans Read filed its voluntary petition for relief under

   Chapter 11 of the Bankruptcy Code. On March 16, 2011, 7035 filed its voluntary petition for

   relief under Chapter 11 of the Bankruptcy Code. Trans Read previously filed for relief under

   Chapter 11 of the Bankruptcy Code in 2009. The Bankruptcy Court entered a final decree in

   the 2009 bankruptcy case, Case No. 09-21854, on March 8, 2011.

              2.   On April 18, 2011, The PrivateBank & Trust Company (“PrivateBank”) filed an

   Application to Convert the Trans Read and 7035 bankruptcy cases (collectively, the “Cases”;

   hereinafter, “Cases” collectively shall refer to the Debtors’ cases and, “Trans Read Case” and

   “7035 Case” shall refer to the individual bankruptcy cases of Trans Read and 7035,




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   respectively) from Chapter 11 to Chapter 7 because of, among other things, Debtors’

   administrative insolvencies.

              3.   On May 5, 2011, the Bankruptcy Court entered orders converting the Debtors’

   Chapter 11 cases to cases under Chapter 7. On May 12, 2011, the United States Trustee

   appointed Gus A. Paloian as the Trustee in the Cases.

              4.   On May 31, 2011, the Bankruptcy Court granted the Trustee’s Application for

   Joint Administration of the Cases.

              5.   On June 2, 2011, the Bankruptcy Court granted the Trustee’s: (a) Application to

   Authorize the Trustee to Operate Debtors’ Businesses, Retroactively, Pursuant to Bankruptcy

   Code Section 721; and (b) Application to Use Cash Collateral through June 15, 2011.

              6.   On June 30, 2011, the Bankruptcy Court entered a Final Cash Collateral Order.

              7.   Pursuant to Paragraph 11(d) of the Final Cash Collateral Order (Dkt. No. 124)

   entered in the Trans Read Case, the Bank agreed to fund “actual, necessary, reasonable fees

   and expenses incurred by Seyfarth Shaw…to the extent approved by order of this Court,

   subject to 11 U.S.C. §§330 and 331 and local rules of the Court (referred to herein as “Carve

   Out”).”

              8.   On February 29, 2012, the Bankruptcy Court entered an order granting the

   substantive consolidation of the 7035 and Trans Read Estates under consolidated Case No.

   11-10709.

              9.   Trans Read was in the business of providing warehouse space and inventory

   control. Trans Read operated four warehouses with over 500,000 square feet of warehouse

   space, where it stored freight, including potentially hazardous materials owned by third party

   customers of Trans Read. Trans Read’s operations included the loading and unloading of




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   freight on pallets from semi-trucks by forklift operators. Trans Read’s clients were

   responsible for all trucking arrangements. In accordance with the order authorizing the

   Trustee to operate the Debtors’ businesses, the Trustee managed the outward bound

   movement of all third party owned goods located at the Debtors’ businesses.

              10. The Trustee investigated the Debtors’ assets, performed necessary wind down

   operations, liquidated inventory, directed staff/employees, negotiated with PrivateBank,

   creditors and customers and sold the underlying real estate in the 7035 Case.

         11.      On March 17, 2017, the Trustee sent distribution checks via U.S. Mail to the

creditors listed on Exhibit A.

         12.      The distribution checks sent to Dennis P. Plzak, Dennis Plzak, Jr., Elizabeth C.

Walker, Evelyn Plzak, Francisco Ayala, George Bell, George Bell, Miguel Diaz, Robert

Anderson (the “Priority Claimants”) on March 17, 2017 were never cashed.

         13.      All reasonable attempts have been expended to locate the Priority Claimants, with

no success. These efforts include: (1) attempts to reach former employees of the Debtor for new

address information, (2) calls to cell phone numbers listed as belonging to some of the Priority

Claimants, (3) calls to general information services for published phone numbers or addresses,

and (4) Internet searches for the last known address of the Priority Claimants.

         14.      The distribution checks sent to H&R Block, Anderson Pest Control and Chicago

Dept. of Revenue (the “Administrative Claimants”) on March 17, 2011 were also never cashed.

         15.      All reasonable attempts have been expended to re-issue checks to the

Administrative Claimants, with no success. The Administrative Claimants do not recognize the

Debtors as having accounts receivables on their books.




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         16.   The original check numbers 5062, 5063, 5069, 5080, 5085, 5093, 5094, 5096,

5097 and 5098 have been voided, due to the amount of time that has lapsed since the checks

were originally issued.

         17.   In addition to voiding the uncashed checks, the Trustee received two refunds

totaling $2,135.97 which increased the amount of funds held in the Estate. A supplemental

distribution was made, thus increasing the amount of each claimant’s distribution. Exhibit A

includes the amended distribution amounts.

         18.   By reason of the foregoing, Trustee has stopped payment on the original

distribution checks and has deposited the unclaimed funds by payment of same to the Clerk of

the Bankruptcy Court pursuant to §347 of the Bankruptcy Code.

  Dated: October 17, 2017                           Respectfully submitted,

                                                    GUS A. PALOIAN, not individually or
                                                    personally, but solely in his capacity as the
                                                    Chapter 7 Trustee of the Debtor’s Estate,


                                                    /s/ Gus A. Paloian, Trustee
                                                        Gus A. Paloian (06188186)
                                                        SEYFARTH SHAW LLP
                                                        233 S. Wacker Drive, Suite 8000
                                                        Chicago, Illinois 60606
                                                        Telephone: (312) 460-5000
                                                        Facsimile: (312) 460-7000
                                                        gpaloian@seyfarth.com

                                                       Chapter 7 Trustee




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                                             Exhibit A

                                                            ORIGINAL      AMENDED
DATE          CHK #   CLAIMANT                               AMOUNT        AMOUNT
3/17/17        5062   H&R Block                               $1,295.00     $1,295.00
3/17/17        5063   H&R Block                               $1,362.00     $1,362.00
3/17/17        5069   Anderson Pest Control                    $511.50       $511.50
3/17/17        5080   Anderson Pest Control                    $558.00       $558.00
3/17/17        5085   Chicago Dept. of Revenue                 $212.00       $212.00
3/17/17        5093   Dennis P. Plzak                          $323.53       $569.46
3/17/17        5094   Dennis Plzak, Jr.                          $29.17        $51.33
3/17/17        5096   Elizabeth C. Walker                        $34.32        $60.41
3/17/17        5097   Evelyn Plzak                             $116.49       $205.03
3/17/17        5098   Francisco Ayala                          $115.42       $203.15
3/17/17        5100   George Bell                              $168.33       $296.29
3/17/17        5101   Miguel Diaz                              $168.01       $295.73
3/17/17        5102   Robert Anderson                          $139.54       $245.61
                      TOTAL                                   $5,033.31     $5,865.51




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